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 8
                    UNITED STATES DISTRICT COURT
 9                 CENTRAL DISTRICT OF CALIFORNIA
10
11   TOMMY CONTRERAS, an                    Case No.: 5:16-CV-02678-JGB-KK
     individual,
12
                                            ORDER DISMISSING
13
                Plaintiff,                  DEFENDANT EXPERIAN
14                                          INFORMATION SOLUTIONS, INC.
                                            ONLY
15                 v.
16
17   KOHL’S DEPARTMENT
18   STORES, INC.; CAPITAL ONE,
     N.A.; TRANS UNION, LLC.;
19   EXPERIAN INFORMATION
20   SOLUTIONS, INC.; EQUIFAX
     INFORMATION SERVICES,
21   LLC.; T-MOBILE USA, INC.;
22   SEARS, ROEBUCK AND CO.
     INC.; CITIBANK, N.A.;
23   BLUESTEM BRANDS, INC. d/b/a
24   FINGERHUT; and WEBBANK.
     INC.,
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     ORDER                                                        PAGE 1 OF 2
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 1                                           ORDER
 2         Having considered the Parties’ stipulation requesting dismissal as to
 3   Defendant, EXPERIAN INFORMATION SOLUTIONS, INC., and good cause
 4   having been shown:
 5         IT IS HEREBY ORDERED that the stipulation is GRANTED and the
 6   above captioned action is dismissed with prejudice as to EXPERIAN
 7   INFORMATION SOLUTIONS, INC. only with both parties bearing their
 8   respective attorney’s fees and costs.
 9
10         IT IS SO ORDERED.
11
12
13 DATED: January 31, 2018
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15
                                             Hon. Jesus
                                                   Jesus G. Bernal
16
                                             Unitedd States
                                                     States District Judge
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     ORDER                                                                   PAGE 2 OF 2
